Case:18-10965-TBM Doc#:43 Filed:03/09/18          Entered:03/09/18 15:30:13 Page1 of 1




                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO

In re:                                   )
                                         )
11380 SMITH RD LLC                       )      Case No. 18-10965 TBM
A Colorado Limited Liability Co.         )      Chapter 11
EIN XX-XXXXXXX                           )
                                         )
Debtor.                                  )


   ORDER AUTHORIZING EMPLOYMENT OF WEINMAN & ASSOCIATES, P.C.
_______________________________________________________________________

              THIS MATTER, having come before this Court upon Debtor's Application to
Employ Weinman & Associates, P.C. as counsel for the Debtor, and the Court being duly
advised in the premises,

               HEREBY FINDS that the employment of Weinman & Associates, P.C. is in
the best interest of Debtor, and that the employment is not forbidden under the Bankruptcy
Code and Rules; and therefore the Court

            HEREBY ORDERS, that Weinman & Associates, P.C. is authorized to
represent Debtor as bankruptcy counsel of record in the above-captioned case; and it is

             FURTHER ORDERED that Weinman & Associates, P.C. shall not be
compensated nor reimbursed for costs from Debtor, except after application to and
approval by this Court.

DATED: March 9, 2018

                                                BY THE COURT:




                                                BANKRUPTCY JUDGE
